Case 14-10979-CSS Doc 2304-1 Filed 10/02/14 Page 1 of 10

EXHIBIT A
Case 14-10979-CSS Doc 2304-1 Filed 10/02/14 Page 2 of 10

In The Matter Of:

ENERGY FUTURE HOLDINGS CORPORATION, et al.

DONALD L. EVANS - Vol. 1
September 25, 2014

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INFORMATION

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Case 14-10979-CSS Doc 2304-1 Filed 10/02/14 Page 3 of 10

Page 1
IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE
Chapter 11
Case No. 14-10979 (CSS)
Jointly Administered

on an Interim Basis

= Ss See i ee eee x
In re
ENERGY FUTURE HOLDINGS CORPORATION,
et al.,

Debtors.
a picieears wie joi eC x

September 25, 2014
9:08 a.m.

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Videotaped Deposition of DONALD
L. EVANS, Individually and as Corporate
Representative of Energy Future Holdings
Corporation, pursuant to Notice, at the United
States Department of Justice, Office of the
U.S. Trustee, 201 Varick Street, New York, New
York, before Frank J. Bas, a Registered
Professional Reporter, Certified Realtime
Reporter and Notary Public within and for the
State of New York.

Case 14-10979-CSS Doc 2304-1 Filed 10/02/14 Page 4 of 10

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Page 110 Page 112
1 The question was that in light 1 what you're saying?
2 of the -- in the summer of 2012, when the / 2 A. No, ‘12.
3 company was bringing on other professionals to _ 3 Q. Since the end of 2012. So that
4 advise it in a possible out-of-court/in-court 4 would be then for the fiscal year 2013?
5 restructuring, earlier you testified that you 5 A. Fiscal and calendar year, which
6 expanded the role of Towers Watson and you 6 is the same thing.
7 brought on Mr. Filsinger. And the question 7 Q. Okay. So they didn't get a
8 is, you know, was there any change in terms of 8 raise in 2013?
9 was the company -- did the company say, well, 9 A. Mm-hmm.
10 maybe we need to cut back on compensation to | 10 Q. And as of 2014, where the
11 not only our executives, but our entire | 11 company is in bankruptcy, they haven't gotten
12 workforce? 12 araise either?
13 A. Well, the executives have not 13 A. They haven't gotten a raise
14 hada raise since December of 2012. The 14 since December of 2012.
15 executives are now being compensated well 15 Q. Right.
16 below the average of compensation in their 16 A. Which meant that that went into
17 peer group. 17 effect January of '13.
18 John Young is now about 35 18 Q. Right.
19 percent below the average of his peer group, 19 A. So they don't have, or did not
20 when you look at his total compensation. He's 20 get araise in January of '14.
21 the CEO. 21 Q. Oh,I am sorry. So in other
22 Paul Keglevic, who is the 22 words, they got a raise in January -- for the
23 — second highest paid executive also in the 23 year 2013?
24 company, he's paid about 25 percent below 24 A. They have not had a raise since
25 the -- his peer group compensation. 25 | 25 December, and I said December because --
Page 111 Page 113
1 percent below the average. 1 Q. Oh,Iam sorry. Let me see if
2 And so because we've taken | 2 [understand you.
3 steps like not increasing compensation for the | 3 A. Yeah.
4 executive officers since December of 2012, | 4 Q. The plan gets approved in 2012
5 their compensation now is below what we would | 5 for the next year, for '13, so they gota
6 say that our target is, which is to have them 6 raise in 2013, but --
7 atthe high end of the range -- 75th 7 A. Right.
8 percentile. They're well below that. 8 Q. -- since January 1, 2014 they
9 So in that sense the answer is | 9 have had not had their salary raised?
10 yes, we -- at the senior-most level, which I 10 A. That's correct.
11 think is kind of the important level to kind 11 Q. Okay. So they didn't get a
12 of send the message to the organization that, | 12 raise in the year 2014. And that was -- and
13 you know, we're going to be going through a -- | 13 that was a decision that was made by the O&C
14 a tough period, okay with not increasing our | 14 with respect to going into the -- knowing that
15 salary. /15 you would be filing for bankruptcy?
16 And consequently, like I said, | 16 A. The decision was made by the
17 what has happened is that they're now -- 17 O&C.
18 they're now paid -- they're paid within the 18 Q. Okay. Was there any other --
19 range, within the market range, but at the way 19 was there any reduction in their salary?
20 low end of it. 20 A. No--
21 Q. Okay. So let me see if I can 21 Q. Compensation, excuse me.
22 break that down a little bit. 22 Overall compensation.
23 A. Sure. | 23 A. Well, I mean, that gets into
24 Q. You're saying that since the |24 another discussion we'll probably have, with
25 end of 2013 they haven't had a raise, is that |25 respect to the metrics that we've changed with

29 (Pages 110 to 113)

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Case 14-10979-CSS Doc 2304-1 Filed 10/02/14 Page 5 of 10

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DONALD L. EVANS - 9/25/2014

Page 114 Page 116
1 respect to the incentive-based program. We've 1 month before the bankruptcy filing? It's in
2 now made it more difficult for them to achieve 2 the first paragraph.
3 their threshold metric, or their target 3 A. The first paragraph --
4 metric. 4 MR. McKANE: Can I direct the
5 So in that sense the answer is 5 witness?
6 yes, there was a reduction. 6 MS. SCHWARTZ: Sure.
7 Q. Ihear you. We will get to 7 MR. McKANE: It's over here
8 that. We'll talk about that in a little bit. 8 (indicating).
9 A. Okay. 9 A. Oh, up top? Yes. J am sorry.
10 Q. Jam going to show you a 10 Yes,
11 document, and I would like the court ;11 Q. Okay?
12 reporter -- | 12 I guess my first question to
13 MS. SCHWARTZ: Can I give it to /13 you is why was this agreement amended one
14 you in this binder? |14 month before the bankruptcy filing?
15 THE COURT REPORTER: We should | 15 A. Iam not familiar with exactly
16 pull it out. 16 what changes were made.
17 MS. SCHWARTZ: I would like to 17 Q. Okay. Is the --
18 give it to the witness -- okay. 18 A. Iwould have to go back and
19 os 19 review that.
20 (UST Exhibit 3, Amended and 20 Q. Okay. Was the O&C Committee,
21 Restated Employment Agreement, dated March 31,| 21 was the O&C Committee involved with any
22 2014, between John Young and Energy Future 22 changes to the employment agreements of the
23 Holdings Corp. was marked for identification) | 23 SPC approximately a month before the
24 -- 24 bankruptcy filing?
25 BY MS. SCHWARTZ: | 25 A. Iwould have to go back and
Page 115 | Page 117
1 Q. This is document number -- that | 1 see. I guess what I'm wondering here, whether
2 has been marked as UST 3. Take a look at this 2 or not that had to relate to the change in the
3 document and tell me whether or not you 3 incentive-based compensation.
4 recognize it. | 4 : Okay.
5 A. Ido. 5 Which -- which I don't know.
6 Q. Okay. What is it? | 6 e All right.
7 A. This is John Young's employment | 7 A. Iwould have to go back and
8 agreement. 8 look.
9 Q. Allright. And that agreement 9 Let me ask you this. Let's say
10 is dated when? | 10 you weren't looking at that document.
11 A. March of 2014. } 11 A. Mm-hmm.
12 Q. Okay. And if we take a look, 12 Q. It's correct that the O&C
13 sir, at the paragraph underneath where it says | 13 Committee has to approve the compensation for
14 "Witnesseth," it reflects that his employment | 14 the members of the SPC, right?
15 agreement was first -- his original effective | 15 A. Correct.
16 date of his employment agreement was January | 16 Q. So this employment agreement
17 6, 2008. Is that right? 17 would have to have been approved by the O&C,
18 A. That's what it says. /18 is that right?
19 Q. Yes. Thank you. | 19 A. Signed by me.
20 And then it was amended, it 20 Q. Right.
21 appears that it was amended in 2011 and 2012. 21 A. Mm-hmm.
22 Is that right? 22 Q. And you wouldn't sign a
23 A. That's correct. 23 document without reading it, right?
24 Q. Okay. And then it was again 24 A. That's right.
25 amended and restated on March 31, 2014, one | 25 Q. Okay. And really J think what

30 (Pages 114 to 117)

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Case 14-10979-CSS Doc 2304-1 Filed 10/02/14 Page 6 of 10

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DONALD L. EVANS - 9/25/2014

Page 118 | Page 120
1 Iam understanding you're saying is that 1 At number 4 it says that
2 you're not really sure, like, what changes are 2 Mr. Young's, his annual -- Executive Annual
3 in this but you are familiar with this 3 Incentive Plan target is 125 percent of his
4 employment agreement? 4 base salary.
5 A. I'm familiar. That's correct. 5 So that would be 125 percent of
6 Q. Okay. Take a look, please, at 6 $1.35 million?
7 paragraph 3 on page 2. And that states that 7 A. That's correct.
8 Mr. Young's base salary is $1.35 million, is 8 Q. Right?
9 that correct? 9 A. Mm-hmm.
10 A. That's correct. 10 Q. And that award, which we'll ask
11 Q. Now, is it your understanding 11 a few questions more about the Executive
12 that that's below market? 12 Annual Incentive Plan, can be modified by an
13 A. Well, it is my understanding 13 individual modifier?
14 that his total compensation is below the 14 A. That's correct.
15 average of his peer group. It's about 35 15 Q. Right?
16 percent below. I always think about it in 16 A. That's correct.
17 terms of total compensation. 17 Q. And his individual modifier is
18 Q. Okay. 18 what, do you know?
19 A. Because if you -- you can pick 19 A. Well, it varies from year to
20 and choose, but you need to look at total 20 year. It can be as high as 150.
21 compensation. 21 Q. Right.
22 Q. What forms the basis of your 22 A. Mm-hmm.
23 understanding? Why do you think that? 23 Q. But do you know what his is --
24 A. Why do] think that he's below? 24 his was?
25 Q. Yes. | 25 A. 140.
Page 119 Page 121
1 A. From SEC records, SEC reporting 1 Q. Right.
2 records of other companies in his peer group 2 So under this scenario, the
3 that have to state the compensation of the 3 total compensation, what's his total
4 five highest paid executive officers. | 4 compensation for the year 2014? What is the
5 Q. Okay. | 5 maximum his total compensation can be?
6 A. So you go to those SEC | 6 A. What I can tell you is from
7 reports -- | 7 last year, what I can tell you, when you
8 Q. Right. 8 compare him with the others, his compensation
9 A. -- you know, lay out the 9 was about $5% million, total compensation.
10 compensation of the five highest paid, and 10 Q. Right. That was for 2013?
11 when you look at John Young's peer group, at 11 A. Now what I can tell you -- that
12 the five highest paid, from SEC reporting, 12 was 2013.
13 he's -- I am told by outside advisors that 13 And I can tell you that the
14 he's roughly 35 percent below the average. 14 average of the other peer group companies
15 Q. Okay. So you didn't go to the 15 looked at by the outside advisors was about
16 SEC reports? | 16 $8% million. Total compensation.
17 A. No. No. No. | 17 Q. And that's from information
18 Q. Your advisor informed you? 18 they provided to you?
19 A. No. Absolutely. Absolutely. 19 A. That's from information they
20 Q. Okay. And who would the /20 provided.
21 advisor be that informed you of that? (21 Q. Now, that was written
22 A. Friske. That would be Towers | 22 information or by oral information?
23 Watson. 23 A. It's in their declaratory
24 Q. Okay. I just want to go over | 24 statement that they filed with the court.
25 this with you. | 25

Q. Are you talking about the

31 (Pages 118 to 121)

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Case 14-10979-CSS Doc 2304-1 Filed 10/02/14 Page 7 of 10

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DONALD L. EVANS - 9/25/2014

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Page 130

out of bankruptcy, give us the opportunity for
a couple of years for gas prices and power
prices to come back, like the whole world
thought they would.

So this has got nothing to do
with the fact, in my judgment -- when I, you
know, make compensation decisions, it's kind
of interesting, maybe, that we haven't made a
profit since 2010, but what really matters is
why we didn't make a profit. And it wasn't
because of the performance of the team. In
fact, but for their performance we probably
would have filed two years ago, or a year ago.

And it's just, you've got to
get back to the fundamental reason this
happened, and the fundamental reason this
happened is because power prices went from $75
an MW per hour to $35.

Now, I don't care how smart you
are, how good you are, how talented you are,
you just can't overcome those economic forces
that you don't have any control over.

So what I evaluate, you know,
how good is this team at -- at doing the
things they can control, how good are they at

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Page 132

wasn't me saying, hey, you know, we just ought
to freeze your salaries. No. No. What they
said was, look, the right thing to do, the

right message to send, as we get ourselves
ready to go through this --

Q. Right.

A. -- is we shouldn't increase our
salaries.

Q. Yeah.

Those salaries, except for not
having a raise in January of '14, were
market-based, is that right?

A. Correct.

Q. What is your understanding of
what point in the market, in the percentile,
did those salaries fall? Did they meet the
above 75 percentile that you said earlier that
you wanted your salary -- the salaries of
executive compensation to be -- to fall in?

A. Well, again, it's not a salary
thing to me.

Q. Total compensation. I
apologize. I meant compensation.

A. Yeah. Total compensation.

That's our -- was our

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Page 131

performing things they are able to control.
And J go back, they're second to none.

Q. I got that. I guess where I am
trying to understand is not so much whether
things are in their control or not, but if the
bottom line of the company, the actual
maximization of the value of the company is
not growing, and in the contrary is
decreasing, I'm wondering whether that --
whether the O&C Committee believes that that
needs to be factored into executive
compensation?

A. Well, I mean, I said earlier,
we've taken some steps. The senior executives
have not had a raise since January of '13.

They did not get a raise in January '14.
Q. January '14, right?
A. Now, other -- other members of

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Page 133

aspiration, to have them at that level.
Okay.
It's clear to me --
Did you achieve that --
It's clear to me --
Yeah.
. -- that they've drifted down
from that substantially, in terms of if we had
them there at one time, in the 60 or 75
percentile, then they're not there now.

Q. Okay. But were they there for
2013?

A. I would have to go back and
look at all of the -- now you're trying to --
I think you're comparing the 2012 data, where
were they in 2012. And certainly --

Q. Iam talking about total
compensation for the year 2013.

POrore

19 the enterprise did. The unions did, our field | 19 A. Yeah, I would have to go back
20 employees did, other managers have some. |20 and have, based on work that Towers Watson
21 But in terms of the executive 21 would do for us that would be retroactive,
22 team, the executive team said no raises for '22 looking at what the compensation was for the
23 us. That's what they said. |23 executive team vis-a-vis their peers in 2012
24 And I would emphasize that was | 24 or '13, I would have to --
25 the recommendation that came to us. That 125 Q. Okay.
34 (Pages 130 to 133)

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Case 14-10979-CSS Doc 2304-1 -Filed 10/02/14 Page 8 of 10

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DONALD L. EVANS - 9/25/2014

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Page 134
A. -- where were we.
I know we're below now. I know
in'13 we're below. Based on his declaration,
and the work that he did.
Q. Let me ask you something, so I
am really understanding.
A. Sure.
Q. And I sense from you this is a

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Page 136

With respect to -- you said
earlier that the company retained the advisors
in the summer of 2012 because at that point it
was -- you needed restructuring counsel.

So I'm guess I'm kind of
wondering, from that point in time, June of
2012 through 2013, did the O&C take any
measures at that time, between June 2012 and

sensitive topic, and I'm just trying to 9 the end of June of the same year, to --
understand what the philosophy is and whether 10 A. June 2012 to...
or not certain factors have played into 11 Q. -to the end of June -- I
decisions concerning compensation. 12 mean -- excuse me -- to the end of 2012, the
When you say 2013, the way I, 13 end of 2012, to modify downward the executive
as like a layperson, not doing a budget cycle 14 compensation?
and starting the -- when I think of 2013 I | 15 A. No, I can't recall anything we
think of it as how much total compensation 16 did to modify downward executive compensation,
these executives are being paid in the year 17 but what I do recall, again, is in Doug
2013. 18 Friske's declaration he went through many
A. Mm-hmm. 19 metrics for 'l3, and those many metrics in
Q. And I understand that that's 20 '13 -- it depends if you're talking about the
set in 2012. But as far as what they actually 21 LTIP program or you're talking about salaries
were being paid in 2013, what's your 22 or whatever, or what group, is it seven of
understanding? Were you -- did you believe 23 them, is it five of them, is it -- or is it
that their salary was decreasing at that time, 24 CEO -- it consistently shows that that group
_ or is it that, more correctly, that that's _ 25 was below the average ofits peers. _
Page 135 Page 137
really now, because they didn't take their | 1 Q. Okay. I wasn't --
raises at the end of 2013, in 2014 their | 2 A. And so that's a 50 percent
salary has decreased? | 3 number to me and so it tells me, were they
A. Yeah, I would have to go back 4 below the 75 percent? Yes.
and review the data. | 5 Q. I think we would have to look
Q. You have no idea about that? 6 at his actual declaration and see what time
A. Well, I have an idea that in 7 period he's talking about. I was asking about
2013 they were certainly below a 75 8 your understanding of that. But it sounds to
percentile -- 9 me like you've answered the question. I got
Q. Oh, do you? 10 your answer on the question.
A. -- if that's what you're 11 MS. SCHWARTZ: Let's mark this
asking? 12 document, please.
Q. Yes. 13 --
A. Yes, yes. | 14 (UST Exhibit 4, Motion of
MR. McKANE: Andrea, just to |15 Energy Future Holdings Corp., et al., dated
clarify, when he was giving the testimony |16 August 8, 2014 was marked for identification)
about it being below, that was 2013 he was 17 si
talking about. The record may reflect that /18 BY MS. SCHWARTZ:
and you may want to go back and check. Just 19 Q. Ihave given you a document
to avoid the confusion on that one. 20 that has been marked as UST 4. Would you
MS. SCHWARTZ: If someone is 21 please take a look at it and let me know
confused, it's not me. 22 whether you recognize it?
MR. McKANE: Okay. 23 A. Yes, sir -- yes, ma'am. I sure
BY MS. SCHWARTZ: 24 will.
Q._ I'msorry I was distracted. | 25 ---

35 (Pages 134 to 137)

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Filed 10/02/14 Page 9 of 10

CONTAINS HIGHLY CONFIDENTIAL INFORMATION
DONALD L. EVANS - 9/25/2014

Page 170 Page 172
1 2007, what were the executive compensation 1 BY MS. SCHWARTZ:
2 plans in existence? If any. 2 Q. Okay. Please take a look at
3 A. Certainly we had plans in 3 that document and tell me whether or not
4 place, the same kind of thinking in terms of | 4 you're familiar with it?
5 for the executives, a base salary plus some 5 A. Yes, ma'am. I am familiar with
6 incentive, both short- and long-term incentive 6 it.
7 components to it. 7 Q. Okay. I would like you to take
8 Q. Okay. 8 alook — oh, what is it? I am sorry.
9 A. Early on, in '08, as we brought 9 A. This is the EFH Executive
10 members into the executive committee, John 10 Annual Incentive Plan. We refer to it as the
11 Young, Paul Keglevic, Mac McFarland, 11 EAIP.
12 etcetera, early on it was a -- it was a base | 12 Q. Would you take a look, please,
13 salary, it was an AIP program, and then there 13 at Article I. It's on page 1. And the second
14 was stock that was part of it. 14 paragraph says that: "The principal purposes
5 Q. That was the beginning part? 15 of the plan are to attract, motivate and
16 A. That was in the beginning. 16 retain key employees."
17 Q. Okay. 17 Is that your understanding of
18 A. And the stock, you think about | 18 this plan?
19 that, you got an annual incentive plan, which 19 A. Yes, ma'am.
20 is the AIP -- 20 Q. Allright. Now, Article IV on
21 Q. Right. 21 page 3 talks about the "Establishment of
22 A. -- and then the stock you think 22 Performance Goals"?
23 about in longer terms, because there's vesting 23 A. Mm-hmm.
24 periods, and so you don't get it immediately, 24 Q. Itsays: For each Plan Year,
25 necessarily. Youmayhavetobetherefor  -—-—s-| 25 the O&C establishes the Financial Performance _
Page 171 Page 173
1 three years, or five years, I can't remember 1 Criteria, the Operational Metrics and the
2 all of the exact parameters. 2 Target Incentive Pool.
3 But three basic elements: A . 3 Is that correct?
4 base salary, an annual incentive program, and 4 A. That is correct. Let me
5 then a longer term incentive program. 5 amplify it by saying we -- we are a part of
6 Q. Allright. So with respect to 6 establishing the metrics, we absolutely
7 the annual incentive plan, was there always a 7 approved the metrics. So there's a lot of
8 different plan for the executives? You know, 8 other people involved in establishing the
9 your company now has an executive incentive | 9 metrics.
10 plan and an annual incentive plan for the more | 10 Q. Okay.
11 rank and file employees, was that always the ; 11 A. So we don't solely establish
12 case? |12 them. There are others that participate in
13 A. Yes. /13 that.
14 Q. Okay. That's helpful. Thank 14 Q. I would like to know a little
15 you. 15 bit about that.
16 MS. SCHWARTZ: Could you mark | 16 What is the O&C's role in terms
17 this, what are we up to, 5? | 17 of establishing the financial performance
18 THE COURT REPORTER: Exhibit 5, 18 criteria?
19 yes. 19 A. It comes out of the budget
20 --- |20 process that I talked about earlier. There's
a1 (UST Exhibit 5, EFH Executive |21 along budgeting process that takes place
22 Annual Incentive Plan, Amended, Effective as |22 where there is management involvement and
23 of January 1, 2010 was marked for !23 board involvement. Once the board approves
24 identification) 24 the budget, then out of that comes what we
25 -- 25 refer to as scorecards, which are metrics used

44 (Pages 170 to 173)

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Case 14-10979-CSS Doc 2304-1 Filed 10/02/14 Page 10 of 10

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Page 174

to -- to determine, to gauge the performance
of each business unit: TXU Energy and
Luminant.

And so there's a process by
which management works very hard to develop, I
would call it a master scorecard. We'll take
Luminant for an example, where it's got six or
so metrics on it. The one that we give the
most weight to is EBITDA.

And then it's got generation
capacity for the shoulder months of the year,
and generation capacity for availability for
the summer months, which is when you make most
of your money. And then it's got fuel costs
and mining costs, and a few others.

But underneath there, feeding
into that master scorecard there are other
metrics that you watch. One very important
one is safety, and so we have a scorecard for
safety and how do you perform in safety, and
that goes into the master reporting card.

And so those get developed and
reviewed and looked at by management, and
then -- and I've sat through SPC meetings
before and watched management go at each

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Page 175

other, challenging each other on the metrics,
with the idea that these need to be ambitious,
they need to be stretched, they don't need to
be lay-ups. The idea is they've got to be
incentive -- you know, they've got to be
incentivizing. We want them to kind of be
aligned with the stakeholders, or the
creditors, or the owners.

And then those scorecards come
from the SPC to O&C Committee, and it's our
opportunity to review and enter into a
discussion as to are they stretched enough,
are they ambitious enough, should maybe the
threshold be a little bit higher on a metric,
what's the balance between threshold metric
and superior metric and the target or baseline
metric.

And herein, a very important
concept to understand, once again the equity
owners are sitting in the room, the
individuals that have the most at stake,
particularly back in, let's say '08, in the
beginning, and '09 -- it's still true to this
day, I'm just trying to acknowledge the equity
value obviously has diminished seriously and

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_ to go through them and challenge them, talk

Page 176

creditors now have a much bigger stake in all
of this -- but in the development of this, and
all through the years the equity was always
present and participating in helping establish
what those final metrics would be, and then
approving the financial metrics. The O&C
would approve them.

So I think the important really
principle to understand there is, which is
unusual with our enterprise, is that you have
equity at the table, the equity that's got
vast knowledge of the industry itself, and
their bias would be to make those stretch
goals, to make sure that, you know, they're
really working hard to achieve the goals, to
reach the goals, or reach superior, or
whatever.

And so -- I mean, I saw a lot
of interaction on that, I saw metrics that got
changed because of that interaction, and so
the committee, it became clear, was anything
but a rubber-stamp committee. It wasn't going
to get the metrics from the management team,
okay, that's fine, we approve. It was going

Page 177

about them, and make adjustments where the
committee felt appropriate.

Q. Ijust want to refresh my
recollection. There's equity members that sit
on the O&C?

A. Yes.

Q. Currently?

A. Yes. Ken Pontarelli would be
an example. He's with Goldman Sachs. So when
I say that, he's a sponsor, we call them
sponsors.

Q. Right.

A. They were one of the original
purchasers --

Q. Tunderstand.

A. -- Goldman Sachs.

And then we also, as J earlier
may have stated, we have other equity members
that will attend the meetings.

Q. Will attend, but they're not on
the committee, right?

A. We have one on the committee.

Q. Right. Okay.

A. Now we have two. When all of
them -- when we really were putting our

45 (Pages 174 to 177)

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